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AF Approval fit. Chief appro OY

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

V. CASE NO. 8:18-cr-192-T-23CPT
HENRY COIRA

PLEA AGREEMENT

Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by
Maria Chapa Lopez, United States Attorney for the Middle District of
Florida, and the defendant, Henry Coira, and the attorney for the defendant,

Bill Sansone, Esq., mutually agree as follows:

A. Particularized Terms

1. Count(s) Pleading To
The defendant shall enter a plea of guilty to Count One of the

Indictment.. Count One charges the defendant with conspiracy to possess with
intent to distribute 5 kilograms or more of mixture and substance containing a
detectable amount of cocaine, in violation of 21 U.S.C. § 846.
| 2. Minimum and Maximum Penalties
Count One is punishable by a mandatory minimum term of
imprisonment of 10 years up to Life, a fine not to exceed $10 million, a term

of supervised release of at least 5 years up to life, and a special assessment of

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$100 per felony count for individuals. With respect to certain offenses, the Court
shall order the defendant to make restitution to any victim of the offense(s), and
with respect to other offenses, the Court may order the defendant to make
restitution to any victim of the offense(s), or to the community, as set forth below.

3. Alleyne v. United States and Apprendi v.'New Jersey

Under Alleyne v. United States, 133 S. Ct. 2151 (2013), the defendant is
subject to a mandatory minimum sentence of 10 years’ imprisonment as to Count
One, and under Apprendi v. New Jersey, 530 U.S. 466 (2000), the Court may
impose a maximum sentence of life imprisonment as to Count One because the
following facts have been admitted by the defendant and are established by this
plea of guilty: the offense to which the defendant is pleading guilty involved 5
kilograms or more of cocaine.

A, ‘Elements of the Offense(s)

The defendant acknowledges understanding the nature and elements
of the offense(s) with which defendant has been charged and to which defendant is
pleading guilty. The elements of Count One are:

First: Two or more people in some way agreed to try to

accomplish a shared and unlawful plan to possess
cocaine;

Second: the Defendant knew the unlawful purpose of the plan
and willfully joined in it; and

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Third: the object of the unlawful purpose of the plan was to
possess with the intent to distribute five kilograms or
more of cocaine.

5. No Further Charges

If the Court accepts this plea agreement, the United States Attorney's
Office for the Middle District of Florida agrees not to charge defendant with
committing any other federal criminal offenses known to the United States
Attorney's Office at the time of the execution of this agreement, related to the
conduct giving rise to this plea agreement.

6. Guidelines Sentence

Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States will
recommend to the Court that the defendant be sentenced within the defendant’s
applicable guidelines range as determined by the Court pursuant to the United
States Sentencing Guidelines, as adjusted by any departure the United States has
agreed to recommend in this plea agreement. The parties understand that such a
recommendation is not binding on the Court and that, if it is not accepted by this
Court, neither the United States nor the defendant will be allowed to withdraw
from the plea agreement, and the defendant will not be allowed to withdraw from

the plea of guilty.

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7. Acceptance of Responsibility - Three Levels

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted, the
United States will not oppose the defendant’s request to the Court that the
defendant receive a two-level downward adjustment for acceptance of
responsibility, pursuant to USSG §3E1.1(a). The defendant understands that this
recommendation or request is not binding on the Court, and if not accepted by the
Court, the defendant will not be allowed to withdraw from the plea.

Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG §3E1.1(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.5., the United States agrees to file a motion
pursuant to USSG §3E1.1(b) for a downward adjustment of one additional level.
The defendant understands that the determination as to whether the defendant has
qualified for a downward adjustment of a third level for acceptance of
responsibility rests solely with the United States Attorney for the Middle District
of Florida, and the defendant agrees that the defendant cannot and will not

challenge that determination, whether by appeal, collateral attack, or otherwise.

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8. Cooperation - Substantial Assistance to be Considered
Defendant agrees to cooperate fully with the United States in the

investigation and prosecution of other persons, and to testify, subject to a
prosecution for perjury or making a false statement, fully and truthfully before any
federal court proceeding or federal grand jury in connection with the charges in
this case and other matters, such cooperation to further include a full and complete
disclosure of all relevant information, including production of any and all books,
papers, documents, and other objects in defendant's possession or control, and to
be reasonably available for interviews which the United States may require. If the
cooperation is completed prior to sentencing, the government agrees to consider
whether such cooperation qualifies as "substantial assistance" in accordance with
the policy of the United States Attorney for the Middle District of Florida,
warranting the filing of a motion at the time of sentencing recommending (1) a
downward departure from the applicable guideline range pursuant to USSG
§5K1.1, or (2) the imposition of a sentence below a statutory minimum, if any,
pursuant to 18 U.S.C. § 3553(e), or (3) both. If the cooperation is completed.
subsequent to sentencing, the government agrees to consider whether such
cooperation qualifies as "substantial assistance" in accordance with the policy of
the United States Attorney for the Middle District of Florida, warranting the filing

of a motion for a reduction of sentence within one year of the imposition of

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sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the defendant
understands that the determination as to whether "substantial assistance" has been
provided or what type of motion related thereto will be filed, if any, rests solely
with the United States Attorney for the Middle District of Florida, and the
defendant agrees that defendant cannot and will not challenge that determination,
whether by appeal, collateral attack, or otherwise.
9. Use of Information - Section 1B1.8
Pursuant to USSG §1B1.8(a), the United States agrees that no self-
incriminating information which the defendant may provide during the course of
defendant's cooperation and pursuant to this agreement shall be used in
determining the applicable sentencing guideline range, subject to the restrictions
and limitations set forth in USSG §1B1.8(b).
10. Cooperation - Responsibilities of Parties
a. The government will make known to the Court and other
relevant authorities the nature and extent of defendant's cooperation and any other
mitigating circumstances indicative of the defendant's rehabilitative intent by
assuming the fundamental civic duty of reporting crime. However, the defendant
understands that the government can make no representation that the Court will
impose a lesser sentence solely on account of, or in consideration of, such

cooperation.

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b. It is understood that should the defendant knowingly provide
incomplete or untruthful testimony, statements, or information pursuant to this
agreement, or should the defendant falsely implicate or incriminate any person, or
should the defendant fail to voluntarily and unreservedly disclose and provide full,
complete, truthful, and honest knowledge, information, and cooperation regarding
any of the matters noted herein, the following conditions shall apply:

(1) The defendant may be prosecuted for any perjury or
false declarations, if any, committed while testifying pursuant to this agreement, or
for obstruction of justice.

(2) The United States may prosecute the defendant for the
charges which are to be dismissed pursuant to this agreement, if any, and may
either seek reinstatement of or refile such charges and prosecute the defendant
thereon in the event such charges have been dismissed pursuant to this agreement.
With regard to such charges, if any, which have been dismissed, the defendant,
being fully aware of the nature of all such charges now pending in the instant case,
and being further aware of defendant's rights, as to all felony charges pending in
such cases (those offenses punishable by imprisonment for a term of over one
year), to not be held to answer to said felony charges unless on a presentment or
indictment of a grand jury, and further being aware that all such felony charges in

the instant case have heretofore properly been returned by the indictment of a

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grand jury, does hereby agree to reinstatement of such charges by recision of any
order dismissing them or, alternatively, does hereby waive, in open court,
prosecution by indictment and consents that the United States may proceed by
information instead of by indictment with regard to any felony charges which may
be dismissed in the instant case, pursuant to this plea agreement, and the
defendant further agrees to waive the statute of limitations and any speedy trial

claims on such charges.

(3) The United States may prosecute the defendant for any
offenses set forth herein, if any, the prosecution of which in accordance with this
agreement, the United States agrees to forego, and the defendant agrees to waive
the statute of limitations and any speedy trial claims as to any such offenses.

(4) The government may use against the defendant the
defendant's own admissions and statements and the information and books,
papers, documents, and objects that the defendant has furnished in the course of
the defendant's cooperation with the government.

(5) The defendant will not be permitted to withdraw the
guilty pleas to those counts to which defendant hereby agrees to plead in the
instant case but, in that event, defendant will be entitled to the sentencing
limitations, if any, set forth in this plea agreement, with regard to those counts to

which the defendant has pled; or in the alternative, at the option of the United

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States, the United States may move the Court to declare this entire plea agreement
~ null and void.
11. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately and
voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 21 U.S.C. § 853, whether in the possession or control of the
United States, the defendant or defendant's nominees.

The defendant agrees and consents to the forfeiture of these assets
pursuant to any federal criminal, civil judicial or administrative forfeiture action.
The defendant also agrees to waive all constitutional, statutory and procedural
challenges (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this Plea Agreement on any grounds,
including that the forfeiture described herein constitutes an excessive fine, was not
properly noticed in the charging instrument, addressed by the Court at the time of
the guilty plea, announced at sentencing, or incorporated into the judgment.

If the United States seeks the forfeiture of specific assets pursuant to
Rule 32.2(b)(4), the defendant agrees that the preliminary order of forfeiture will
satisfy the notice requirement and will be final as to the defendant at the time it is

- entered. In the event the forfeiture is omitted from the judgment, the defendant

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agrees that the forfeiture order may be incorporated into the written judgment at
any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and locate
all property subject to forfeiture and to transfer custody of such property to the
United States before the defendant’s sentencing. To that end, the defendant agrees
to make a full and complete disclosure of all assets over which defendant exercises
control directly or indirectly, including all assets held by nominees, to execute any
documents requested by the United States to obtain from any other parties by
lawful means any records of assets owned by the defendant, and to consent to the
release of the defendant’s tax returns for the previous five years. The defendant
further agrees to be interviewed by the government, prior to and after sentencing,
regarding such assets and their connection to criminal conduct. The defendant
further agrees to be polygraphed on the issue of assets, if it is deemed necessary by
the United States. The defendant agrees that Federal Rule of Criminal Procedure
11 and USSG § 1B1.8 will not protect from forfeiture assets disclosed by the
defendant as part of the defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the defendant’s
sentencing. In addition to providing full and complete information about

forfeitable assets, these steps include, but are not limited to, the surrender of title,

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the signing of a consent decree of forfeiture, and signing of any other documents
necessary to effectuate such transfers.

Forfeiture of the defendant's assets shall not be treated as satisfaction

_ of any fine, restitution, cost of imprisonment, or any other penalty the Court may
impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that the
defendant has breached this section of the Plea Agreement, the defendant may be
found ineligible for a reduction in the Guidelines calculation for acceptance of »
responsibility and substantial assistance, and may be eligible for an obstruction of
justice enhancement.

The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant, notwithstanding the
abatement of any underlying criminal conviction after the execution of this
agreement. The forfeitability of any particular property pursuant to this agreement
shall be determined as if the defendant had survived, and that determination shall
be binding upon defendant’s heirs, successors and assigns until the agreed

forfeiture, including any agreed forfeiture amount, is collected in full.

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B. Standard Terms and Conditions

1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition to
or in lieu of any other penalty, shall order the defendant to make restitution to any
victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses described
in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant to make
restitution to any victim of the offense(s), pursuant to 18 U.S.C. § 3663, including
restitution as to all counts charged, whether or not the defendant enters a plea of
guilty to such counts, and whether or not such counts are dismissed pursuant to
this agreement. The defendant further understands that compliance with any
restitution payment plan imposed by the Court in no way precludes the United
States from simultaneously pursuing other statutory remedies for collecting
restitution (28 U.S.C. § 3003(b)(2)), including, but not limited to, garnishment and
execution, pursuant to the Mandatory Victims Restitution Act, in order to ensure
that the defendant's restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court shall
impose a special assessment pursuant to 18 U.S.C. § 3013. The special assessment
is due on the date of sentencing.. '

The defendant understands that this agreement imposes no limitation

as to fine.

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2. Supervised Release

The defendant understands that the offense(s) to which the defendant
is pleading provide(s) for imposition of a term of supervised release upon release
from imprisonment, and that, if the defendant should violate the conditions of
release, the defendant would be subject to a further term of imprisonment.

3. Immigration Consequences of Pleading Guilty

The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed from
the United States, denied citizenship, and denied admission to the United States in

the future.

4. Sentencing Information

The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant factual
information, including the totality of the defendant's criminal activities, if any, not
limited to the count(s) to which defendant pleads, to respond to comments made
by the defendant or defendant's counsel, and to correct any misstatements or
inaccuracies. The United States further reserves its right to make any
recommendations it deems appropriate regarding the disposition of this case,

subject to any limitations set forth herein, if any.

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5. Financial Disclosures
Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.

32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United States
Attorney's Office within 30 days of execution of this agreement an affidavit
reflecting the defendant's financial condition. The defendant promises that his
financial statement and disclosures will be complete, accurate and truthful and will
include all assets in which he has any interest or over which the defendant
exercises control, directly or indirectly, including those held by a spouse,
dependent, nominee or other third party. The defendant further agrees to execute
any documents requested by the United States needed to obtain from any third
-parties any records of assets owned by the defendant, directly or through a
nominee, and, by the execution of this Plea Agreement, consents to the release of
the defendant's tax returns for the previous five years. The defendant similarly
agrees and authorizes the United States Attorney's Office to provide to, and obtain
from, the United States Probation Office, the financial affidavit, any of the
defendant's federal, state, and local tax returns, bank records and any other
financial information concerning the defendant, for the purpose of making any
recommendations to the Court and for collecting any assessments, fines,
restitution, or forfeiture ordered by the Court. The defendant expressly authorizes

the United States Attorney's Office to obtain current credit reports in order to

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evaluate the defendant's ability to satisfy any financial obligation imposed by the
Court.

6. Sentencing Recommendations

‘It is understood by the parties that the Court is neither a party to nor
bound by this agreement. The Court may accept or reject the agreement, or defer
a decision until it has had an opportunity to consider the presentence report
prepared by the United States Probation Office. The defendant understands and
acknowledges that, although the parties are permitted to make recommendations
and present arguments to the Court, the sentence will be determined solely by the
Court, with the assistance of the United States Probation Office. Defendant
further understands and acknowledges that any discussions between defendant or
defendant's attorney and the attorney or other agents for the government regarding
any recommendations by the government are not binding on the Court and that,
should any recommendations be rejected, defendant will not be permitted to
withdraw defendant's plea pursuant to this plea agreement. The government
expressly reserves the right to support and defend any decision that the Court may
make with regard to the defendant's sentence, whether or not such decision is

consistent with the government's recommendations contained herein.

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7. Defendant's Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and authority to

impose any sentence up to the statutory maximum and expressly waives the right
_ to appeal defendant's sentence on any ground, including the ground that the Court
erred in determining the applicable guidelines range pursuant to the United States
Sentencing Guidelines, except (a) the ground that the sentence exceeds the
defendant's applicable guidelines range as determined by the Court pursuant to the
United States Sentencing Guidelines; (b) the ground that the sentence exceeds the
statutory maximum penalty; or (c) the ground that the sentence violates the Eighth
Amendment to the Constitution; provided, however, that if the government
exercises its right to appeal the sentence imposed, as authorized by 18 U.S.C. §
3742(b), then the defendant is released from his waiver and may appeal the
sentence as authorized by 18 U.S.C. § 3742(a).
8. Middle District of Florida Agreement

It is further understood that this agreement is limited to the Office of
the United States Attorney for the Middle District of Florida and cannot bind
other federal, state, or local prosecuting authorities, although this office will bring
defendant's cooperation, if any, to the attention of other prosecuting officers or

others, if requested.

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9, Filing of Agreement

This agreement shall be presented to the Court, in open court or in

camera, in whole or in part, upon a showing of good cause, and filed in this cause,

 

at the time of defendant's entry of a plea of guilty pursuant hereto.

10. Voluntariness

The defendant acknowledges that defendant is entering into this

agreement and is pleading guilty freely and voluntarily without reliance upon any
discussions between the attorney for the government and the defendant and
defendant's attorney and without promise of benefit of any kind (other than the
concessions contained herein), and without threats, force, intimidation, or
coercion of any kind. The defendant further acknowledges defendant's
understanding of the nature of the offense or offenses to which defendant is
pleading guilty and the elements thereof, including the penalties provided by law,
and defendant's complete satisfaction with the representation and advice received
from defendant's undersigned counsel (if any). The defendant also understands
that defendant has the right to plead not guilty or to persist in that plea if it has
already been made, and that defendant has the right to be tried by a jury with the
assistance of counsel, the right to confront and cross-examine the witnesses against
defendant, the right against compulsory self-incrimination, and the right to

compulsory process for the attendance of witnesses to testify in defendant's

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defense; but, by pleading guilty, defendant waives or gives up those rights and
there will be no trial. The defendant further understands that if defendant pleads
guilty, the Court may ask defendant questions about the offense or offenses to
which defendant pleaded, and if defendant answers those questions under oath, on
the record, and in the presence of counsel (if any), defendant's answers may later
be used against defendant in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are felonies,
may thereby be deprived of certain rights, such as the right to vote, to hold public
office, to serve on a jury, or to have possession of firearms.

11. Factual Basis

Defendant is pleading guilty because defendant is in fact guilty. The
defendant certifies that defendant does hereby admit that the facts set forth below
are true, and were this case to go to trial, the United States would be able to prove
those specific facts and others beyond a reasonable doubt.
FACTS

In April 2017, Tampa Police Department investigators identified a drug

trafficking organization (“DTO”) operating out of the Middle District of Florida.

Thereafter, the Federal Bureau of Investigation, Tampa Police Department,

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Florida Department of Law Enforcement, and the Drug Enforcement
Administration initiated a joint investigation into the DTO.

Jesus Manuel Rodriguez, Bryan Gomez Nevarez, Hector Jose Carrasquillo
Perez, and Henry Coira were the principals of the DTO, organizing the shipment
of multi-kilogram amounts of cocaine from Puerto Rico into the Middle District of
Florida via the U.S. Mail and distributing the narcotics to other members of the
DTO.

Luis Enrique Hernandez Quinones, Avisys Lee Jackson, Javier Albaladejo
Lopez (“LOPEZ”), Jose Angel Mendoza, Jr., Pedro Luis Ramos Burgos, and
William Leverne Norton acted as mid-level distributors for the DTO by receiving
and redistributing kilogram quantities of cocaine and picking up drug proceeds.

Edgar Hernandez and Ismael Pagan Marrero acted as low-level distributors
for the DTO by receiving trafficking amounts of cocaine and redistributing the
narcotics on the streets or Tampa, Orlando, and elsewhere.

Specifically, on or about January 15, 2018, Gomez Nevarez coordinated the
shipment of two kilograms of cocaine from Puerto Rico to a Post Office in the
Middle District of Florida. On that occasion, Gomez Nevarez directed Coira to
pick up the narcotics. Later that day, law enforcement arrested Coira as he
attempted to obtain the cocaine. On or about February 22, 2018, Gomez Nevarez

coordinated the shipment of 56 grams of cocaine from Puerto Rico to a residence

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in the Middle District of Florida. On that occasion, Gomez Nevarez again
directed Coira to pick up the narcotics, and surveillance units observed Coira at
the residence in question at the approximate time the narcotics were due to arrive.
Coira never retrieved the cocaine on that occasion because it was seized by law
enforcement. On or about March 8, 2018, Gomez Nevarez coordinated the
shipment of 305 grams of cocaine from Puerto Rico to a residence in the Middle
District of Florida. On that occasion, Gomez Nevarez again directed Coira to pick
up the narcotics. During multiple intercepted phone calls, Gomez Nevarez and
Coira discussed the arrival of the narcotics, however, Coira never retrieved the
cocaine because it was seized by law enforcement.

In total, the DTO was responsible for the distribution of more than 20
kilograms of cocaine during the course of the conspiracy. It was reasonably
foreseeable to COIRA that the amount of cocaine with which his coconspirators
were involved with during and in furtherance of the conspiracy was equal to or
greater than five kilograms of cocaine.

- On April 19, 2018, investigators executed six search warrants on residences
associated with members of the DTO. In total, investigators seized approximately
one kilogram of cocaine, six handguns, two assault rifles, one shotgun, hundreds

of rounds of ammunition, and more than $35,000 in narcotics proceeds.

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The above is merely a brief summary of the events, some of the persons
involved, and other information relating to this case and does not include, nor is it
intended to include, all of the events, persons involved, or other information

relating to this case.

12. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea and
no other promises, agreements, or representations exist or have been made to the

- defendant or defendant's attorney with regard to such guilty plea.
13. Certification

The defendant and defendant's counsel certify that this plea

agreement has been read in its entirety by (or has been read to) the defendant and

that defendant fully understands its terms.

DATED this_// day of__ /4ec. A 2019.

 

 

MARIA CHAPA LOPEZ
United States Attgrney
Henry Coira V Carlton C. Gammons

   

Defendant a istant Unite States. Attorney J

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il Sansone, Esq. ‘Christopher F. Murray
Attorney for Defendant Assistant United States Attorney
Chief, Violent Crimes and Narcotics Section

   

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